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 March 3, 2020

 VIA ECF

Honorable George J. Hazel
United States District Court
District of Maryland
6500 Cherrywood Lane
Suite 445A
Greenbelt, MD 20770

 Re: American Chemical Society et al. v. ResearchGate GmbH
     Case No. 8:18-cv-03019-GJH

 Dear Judge Hazel:

 ResearchGate writes in reply to Plaintiffs’ opposition (ECF No. 45) to ResearchGate’s letter motion to
 compel (ECF No. 43).

 I.     Background

 Plaintiffs mischaracterize this dispute and the discovery completed thus far. Plaintiffs do have
 “histories,” as they say, Letter from Zebrak to Court (Feb. 25, 2020), ECF No. 45 at 1 (“Pls.’ Opp’n”):
 they have profited off the free labor of the scientific community for many years, while ResearchGate has
 been helping scientists disseminate their research for a much shorter time. But here Plaintiffs seek to
 capitalize further on their dominant market position by targeting ResearchGate—a direct competitor—
 based on researchers’ posting their own work on ResearchGate’s website. Allowing researchers to post
 and share their own work is just one aspect of ResearchGate’s model, which focuses on connecting
 researchers around the world and, ultimately, allowing scientific knowledge to be shared and
 encouraging scientific progress.

 ResearchGate does not wish to burden the Court with the details of the parties’ discovery
 correspondence and productions. Briefly, in addition to the thousands of documents ResearchGate has
 produced, it has produced gigabytes of data in spreadsheets that Plaintiffs requested and, since August,
 has made its source code available for inspection (which Plaintiffs so far have not bothered to look at).
 Plaintiffs have slow-rolled their searches and production, and many of the documents they have
 produced are simply copies of publicly available scientific journal articles—not, for example, probative
 communications or internal documents.
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II.      Documents Plaintiffs Should Be Compelled To Produce

Plaintiffs’ arguments in opposition fail. Their attempts to distract from the key factual and legal issues
do not undermine the relevance of the documents ResearchGate seeks.

         A.       Value of Plaintiffs’ Articles

Plaintiffs admit that responsive financial information exists on a journal-by-journal basis.1 They also
admit that actual damages are relevant to statutory damages. (Pls.’ Opp’n at 3; see Letter from Gratz to
Court (Feb. 11, 2020), ECF No. 43 at 2 (“Letter Motion”); Psihoyos v. John Wiley & Sons, Inc., 748
F.3d 120, 127 (2d Cir. 2014); Disney Enters., Inc. v. Delane, 446 F. Supp. 2d 402, 406 (D. Md. 2006).)
Plaintiffs’ fundamental argument is that journal-level documents (“P&Ls”) are “too attenuated” to show
the alleged value of their articles. (Pls.’ Opp’n at 3.) Plaintiffs therefore claim that they should not be
required to produce anything relating to the value of the works in suit—while still arguing to the Court
and the jury that they suffered actual (albeit unquantified) damages. (Id.)2 That argument fails. In
short, Plaintiffs cannot have it both ways. They cannot contend that they suffered actual, but
“unquantifiable” damages, while simultaneously withholding evidence that the damages can be
quantified: evidence that ResearchGate will use to show the jury that the correct quantification is zero.

ResearchGate is entitled to the information it needs to rebut Plaintiffs’ arguments that ResearchGate’s
existence harms their business. Journal-level financial information is relevant to show whether Plaintiffs
appear to have lost any revenue (which ResearchGate contends they have not). Plaintiffs are of course
welcome to argue (in a Daubert motion or otherwise) that the journal-level information is too attenuated
for ResearchGate to rely on it. But that does not mean that the journal-level information is not
discoverable.

Of course, this discovery could be obviated by a stipulation by Plaintiffs that they have not, in fact,
suffered any harm from ResearchGate’s existence or activities. But Plaintiffs have declined to enter into
such a stipulation.

For these reasons, Plaintiffs should be compelled to produce documents in response to ResearchGate’s
RFPs 7, 10, and 11.

         B.       Unauthorized Use or Distribution, Take-Down Notices, and Assertions of
                  Infringement

None of Plaintiffs’ arguments call into question the relevance of documents responsive to RFPs 17, 27,
1
 Plaintiffs emphasize that financial information does not exist on an article-by-article basis (Pls.’ Opp’n at 1-2), but
ResearchGate already recognized in its opening letter that article-level information may not be available (Letter Motion at 2
n.3; Pls.’ Opp’n at 2-3).
2
  Plaintiffs also appear to oppose production on the ground that this information is “highly sensitive.” (Pls.’ Opp’n at 2.)
That is irrelevant. Many documents in this case and nearly all of the documents ResearchGate has produced are highly
sensitive; indeed, ResearchGate has made its source code available to Plaintiffs for inspection since August of last year. An
appropriate stipulated protective order was entered to address concerns relating to the disclosure of highly confidential
information. (Stipulated Protective Order, ECF No. 32.)
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and 36.

First, Plaintiffs do not meaningfully dispute that the requested documents are relevant to damages and
ResearchGate’s copyright-misuse defense. As ResearchGate explained in its opening letter: Documents
showing the unauthorized use or distribution of Plaintiffs’ works, take-down notices sent to third parties,
and documents sufficient to show assertions of copyright infringement regarding any copyrighted work
will show the harm, if any, caused by third parties rather than ResearchGate, in addition to showing
whether Plaintiffs actually considered ResearchGate’s activities infringing or problematic for Plaintiffs’
business. (Letter Motion at 3.) Other than in a clause of a conclusory sentence (Pls.’ Opp’n at 4),
Plaintiffs have not said otherwise.

Second, Plaintiffs’ argument on red-flag knowledge misses the point. Plaintiffs rely on an unsupported
assertion that ResearchGate “knew exactly what it was doing.” (Id.) ResearchGate disagrees and
intends to prove otherwise. Further, as much as Plaintiffs may wish to defeat discovery, they cannot do
so merely by asserting that their allegations are true. The law is clear that ResearchGate has no duty to
monitor its site for potential infringing activity. See 17 U.S.C. § 512(m)(1). In the absence of a DMCA-
compliant takedown notice, ResearchGate is required to take action with respect to infringing activity on
its website only if ResearchGate has actual or red flag knowledge of the infringement. The test for red-
flag knowledge is whether ResearchGate was aware of facts that to a reasonable person would have
made it obvious that particular uploads by ResearchGate users were infringing. (Letter Motion at 3; see
Mavrix Photographs, LLC v. Livejournal, Inc., 873 F.3d 1045, 1057-58 (9th Cir. 2017).) ResearchGate
is entitled to discovery that would allow it to show infringement would not be obvious.

Third, Plaintiffs confusingly suggest that they have made no effort to investigate responsive documents,
while at the same time claiming that such documents cannot be produced. Plaintiffs note that responsive
documents may not exist at all (“to the extent that ResearchGate seeks documents that even exist”) but
in the same sentence firmly state that these documents are not “store[d] . . . in such a way that would
allow Plaintiffs to search them by work” (Pls.’ Opp’n at 4), a point that Plaintiffs never raised until now.
This further demonstrates that Plaintiffs have no principled opposition to these document requests; they
simply are trying to avoid discovery of relevant documents.

Accordingly, the Court also should order Plaintiffs to produce documents responsive to RFPs 17, 27,
and 36.

          C.    Documents Related to ResearchGate’s Copyright-Misuse Defense

Plaintiffs’ points on copyright misuse also fail. Plaintiffs attempt to distract from the relevant discovery
standard. Plaintiffs’ position on the law is essentially that, if ResearchGate cannot prove “exceptional
circumstances” and copyright misuse based on public documents alone, ResearchGate may not seek
discovery of the very documents that Plaintiffs fault ResearchGate for not knowing about. (Pls.’ Opp’n
4-5.) But ResearchGate need not show that it can prevail on the merits of its copyright-misuse defense
at this stage, as Plaintiffs suggest. (Id. at 4-6.) The test is whether the requested documents are
“relevant to any party’s claim or defense[.]” Fed. R. Civ. P. 26(b)(1). And they are: They are relevant
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to ResearchGate’s affirmative defense of copyright misuse, as explained in more detail in
ResearchGate’s opening letter motion and below.3

                  1.        Coalition for Responsible Sharing (RFP Nos. 35, 44-46)

Plaintiffs admit the Coalition was responsible for “initiating litigation” in this case (Pls.’ Opp’n at 7) but
still seek to block all discovery into the Coalition. Having made the Coalition for Responsible Sharing
relevant to this case, Plaintiffs cannot immunize the Coalition from discovery.

Plaintiffs’ primary argument against discovery in response to RFPs 35 and 44-46 is that, because
ResearchGate has not already established copyright misuse at this stage in the litigation, it may not seek
discovery of documents relating to the Coalition for Responsible Sharing. (See Pls.’ Opp’n at 6 (noting
that ResearchGate has failed to show facts to support its assertions that Plaintiffs are attempting to
control content outside the scope of their copyrights and that Plaintiffs (particularly Elsevier) have an
interest in protecting Mendeley from competition).) That is backwards. ResearchGate is seeking
discovery into the Coalition in order to support and establish its affirmative defense of copyright misuse.
The purpose of discovery is to develop the factual record; it puts the cart before the horse to say that a
party must prove its case prior to getting the discovery needed to do so.

In any event, Plaintiffs overlook that the fundamental basis for these document requests is the nature of
the Coalition itself. The Coalition is an organization made up of companies that normally compete with
each other, which is entirely focused on pursuing coordinated activities against ResearchGate. (See
Letter Motion at 3.) The Coalition was formed by Plaintiffs and other publishers in response to the
competitive threat ResearchGate poses: In particular, ResearchGate not only threatens Plaintiffs’
traditional lines of business, but also competes directly with the self-described “academic social
network” Mendeley, which is owned by Plaintiff Elsevier. While some publishers have decided to work
with ResearchGate, Plaintiffs and the other members of the Coalition have instead stated publicly that
their mission is to work together to oppose ResearchGate. (Id.) That alone justifies discovery, so that
ResearchGate can determine whether the Coalition is facilitating copyright misuse. Indeed, Plaintiffs
put the Coalition at issue in this dispute by referring to the Coalition in their complaint. (Compl. ¶ 49,
ECF No. 1.)

Plaintiffs also assert that the Coalition’s strategy is consistent with the DMCA and public policy on
copyrights. But without discovery, ResearchGate and the Court have no way to know that that is true.
Yes, the Coalition’s public statements include platitudes that it is devoted to enforcing copyrights
lawfully. The question is whether the Coalition is privately doing more than that. Plaintiffs cannot
preclude discovery into misuse based on their own ipse dixit. In addition, the Coalition’s plain statement
admits that it seeks to circumvent the notice-and-take-down regime under the DMCA, which is further
evidence of copyright misuse. (Letter Motion at 4.)

3
  That ResearchGate’s copyright-misuse defense is one of seventeen does not diminish its importance in the case or the
relevance of the requested documents. Plaintiffs never moved to strike, but they now seem to hold it against ResearchGate
that it has alleged many and, ResearchGate believes, meritorious affirmative defenses. (Pls.’ Opp’n at 4 n.1.) Plaintiffs may
not like seeing a list of affirmative defenses, since those are key difficulties with their claims in this case. But the number or
order of defenses does not reduce the scope of discovery that ResearchGate should receive.
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Plaintiffs misleadingly cite several cases where courts have not allowed discovery into copyright misuse
allegations, but in those cases, the allegations themselves were insufficient to establish copyright misuse.
In Plaintiffs’ cited cases, courts acknowledged that competitors’ collective enforcement of copyrights
did not alone amount to copyright misuse. (See Preferred Carolinas Realty, Inc. v. Am. Home Realty
Network, No. 1:13CV181, 2014 WL 1320133, at *5 (M.D.N.C. Mar. 28, 2014); UMG Recordings, Inc.
v. Lindor, 531 F. Supp. 2d 453, 459 (E.D.N.Y. 2007).)

That is not what ResearchGate is claiming here. ResearchGate claims that Plaintiffs are (1) utilizing
their licenses to control noncopyrightable material, such as preprints, in a similar manner to the plaintiffs
in Lasercomb America, Inc. v. Reynolds, 911 F.2d 970, 979 (4th Cir. 1990), and PRC Realty Systems,
Inc. v. National Association of Realtors, 972 F.2d 341 (4th Cir. 1992) (unpublished table decision); and
(2) coordinating with competitors to use the cost of litigation to coerce ResearchGate into giving up its
safe harbor rights under the DMCA, circumventing the public policy embodied in copyright. These
allegations are specific instances of misuse that go far beyond simply alleging that the Coalition is
collectively enforcing copyrights. Therefore, the cases Plaintiffs cite in which discovery into misuse
was denied are inapposite.

Finally, as to red-flag knowledge and damages, Plaintiffs fail to explain away the relevance of Coalition-
related documents. ResearchGate has put forth several reasons Coalition-related information likely
relates to ResearchGate’s alleged awareness of infringing activity, its state of mind, and the conduct and
attitude of Plaintiffs. (Letter Motion at 5.) Plaintiffs assert that ResearchGate has not “ma[d]e clear
how secret documents it never saw” go to these issues in the case. (Id.) But ResearchGate cannot
describe with particularity how the undisclosed documents go to the issues in the case simply because
Plaintiffs (a) have entirely refused discovery into the Coalition and (b) in doing so, have given no
indication of what responsive documents exist. It is no surprise, then, that ResearchGate is unable at this
stage to identify particular information in existence, even if that were (and it is not) ResearchGate’s
obligation under Rule 26.

               2.      Other Documents Related to Copyright Misuse (RFP Nos. 47-49)

For these requests, Plaintiffs fail to put forth any actual arguments and, instead, refer to other, publicly
available documents they have produced and to the proposition that these documents “might reveal
something that ResearchGate wishes to see.” (Pls.’s Opp’n at 8.) ResearchGate has explained that it
needs documents beyond final license agreements and published sharing guidelines in order to
determine Plaintiffs’ understanding of their agreements with authors, copyrightable material in different
versions of articles, and Plaintiffs’ attempts to prevent authors from modifying preprints. (Letter Motion
at 5.) Internal documents are necessary to shed light on these areas of Plaintiffs’ conduct and—in
particular—to support ResearchGate’s copyright-misuse defense. Indeed, Plaintiffs concede the
relevance (although they claim it is minimal) of these documents. (Pls.’s Opp’n at 8.) They make only
conclusory statements about the burden and potential privilege review in searching for responsive
documents, which demonstrate at best that Plaintiffs do not know what the burden would be.

Accordingly, and for the reasons set forth in ResearchGate’s opening letter motion, Plaintiffs should be
compelled to produce documents relating to ResearchGate’s defense of copyright misuse.
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III.   Conclusion

For the foregoing reasons, ResearchGate requests that the Court compel Plaintiffs to produce documents
in response to the full scope of RFPs 7, 10, 11, 17, 27, 35, 36, and 44-49.


Respectfully submitted,


/s/ Joseph C. Gratz                        /s/ Toyja E. Kelley
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